Case 18-12095-BFK          Doc 121    Filed 11/13/18 Entered 11/13/18 15:16:21         Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Alexandria Division)

 In re:                                          *

 WW Contractors Inc.,                            *          Case No: 18-12095-BFK

                Debtor.                          *          Chapter 11
                                                 *
 *        *     *      *       *       *         *          *      *      *       *      *


          NOTICE OF WITHDRAWAL OF APPEARANCE OF COUNSEL TO DEBTOR


          PLEASE TAKE NOTICE that Aryeh E. Stein and Meridian Law, LLC hereby withdraw

 their appearance as counsel to the Debtor in the above-captioned case.


                                              Respectfully submitted,

                                              /s/ Aryeh E. Stein
                                              Aryeh E. Stein, VA Bar No. 45895
                                              Meridian Law, LLC
                                              600 Reisterstown Road
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                                              Baltimore, MD 21208
                                              (443) 326-6011
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 13th day of November, 2018, a copy of the foregoing pleading
 was served electronically to those parties on the Court’s CM/ECF notice list.


                                                     /s/ Aryeh E. Stein
                                                     Aryeh E. Stein
